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                 EXHIBIT --
3ROLFH5HSRUWILOHGZLWKWKH
 +LOOVERURXJK&RXQW\6KHULII V2IILFH
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                      Hillsborough County Sheriff's Office
                                       Confidential / Exemption

 Records are provided in accordance with Florida Statutes and the Public Records Law
 Description of exempt records and statutory basis for any exemptions are provided below:

 { }     ACCOUNT NUMBERS – FS § 119.071(5)b

 { }    ACTIVE INVESTIGATION – FS § 119.071(2)(c)1

 { }    AGENCY PERSONNEL INFORMATION – FS § 119.071(4)

 { }    ALARM CALL VIOLATION – FS § 119.071(3)

 { }    ATF FORM – FS § 119.071(2)(b) & 790.335 (1)(A)(2)

 { }    CHILD ABUSE – FS § 119.071(2)(h)1

 { }    CONFIDENTIAL INFORMANTS/SOURCE – FS § 119.071(2)(f)

 { }     CRIMINAL INTELLIGENCE INFORMATION – FS § 119.071(2)(h)2

 { }     D.A.V.I.D – FS § 322.142(4)

 { }    EMERGENCY COMMUNICATIONS E911 VOICE RECORDINGS - FS § 365.171(12)

 { }    FCIC/NCIC INFORMATION – FS § 943.053(2) & (3)

 { }    PROHIBITION OF REGISTRATION OF FIREARMS - FS § 790.335(1)(a)(2)

 { }    JUVENILE OFFENDER RECORDS (CONFIDENTIALITY) – FS § 985.04(1)

 { }    MEDICAL – FS § 119.0712(1)

 { }    SEXUAL OFFENSE – FS § 119.071(2)(h)1 & FS §794.024

 { }     SOCIAL SECURITY – FS § 119.071(5)5

 { }    UNDERCOVER PERSONNEL – FS §119.071(4)(c)

 { }    VICTIMͲPursuant to ARTICLE 1, SECTION 16 of the Constitution of the State of Florida (also
        known as "Marsy's Law")

 { }    OTHER_____________________________________________________________________________________

 ________________________________________________________________________________________________

Revised: RECORDS SECTION/COMMON/PROCEDURES/EXEMPTIONS Revised 3/26/2019 - IS
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                                             CUSTOMER SERVICE
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  Records are provided in accordance with Florida Statute, Chapter 119 Public Records.




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              HILLSBOROUGH COUNTY SHERIFF
                   GENERAL OFFENSE HARDCOPY
                      (FONDLING/FORCIBLE)
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General Offense Information

  Operational Status CLEARED BY EXCEPTION
       Reported On MAY-15-2018 1333
  Occurred Between JAN-01-2010 0 AND DEC-31-2010 2359
      Approved On MAY-15-2018 (TUE.)
       Approved By 4398 - RASCHKE, LEONARD
   Report Submitted 222418 - CORTES, PEDRO
                  By
           Address 3478 ST BART LN                                 Apartment 303
        Municipality HILLSBOROUGH COUNTY
                     District D3 Beat G04 Grid HS3176
    Family Violence NO
        Cargo Theft NO

Offenses (Completed/Attempted)

          Offense # 1 SEX ASLT-4 FONDLING/FORCIBLE - COMPLETED
           Location RESIDENCE/HOME (RESIDENTIAL DRIVEWAYS/YARDS)
 Suspected Of Using NOT APPLICABLE
      Weapon Type PERSONAL WEAPONS (HANDS,FIST,FEET,TEETH, ETC)
               Bias NONE (NO BIAS)




                                                                                        [APPROVED
                                                                                        By Stefanie Davis at 4:33 pm, Sep 02, 2021




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Related Person(s)

 1. SUSPECT # 1 - MOORE, MITCHELL TAYLOR

   CASE SPECIFIC INFORMATION

                 Sex MALE
                Race WHITE
        Date Of Birth APR-16-1985
            Address 7472 SPRINGSIDE DR
         Municipality MYRTLE BEACH
                State SOUTH CAROLINA
           ZIP Code 29588
             Cellular (917) 545-7316
               Other (843) 945-2692
               Other (843) 650-9329

   PERSON PARTICULARS

     Place Of Birth SOUTH CAROLINA
        Citizenship AMERICA - UNITED STATES OF
      Marital Status SINGLE
           Ethnicity NOT HISPANIC OR LATINO
Language(s) Spoken ENGLISH
              Height 6'02
          Disability NO
               Build THIN                                     Complexion FAIR
         Hair Color BROWN                                       Hair Style STRAIGHT, SHORT


   MASTER NAME INDEX REFERENCE

               Name MOORE , MITCHELL TAYLOR
                 Sex MALE
                Race WHITE
        Date Of Birth APR-16-1985
            Ethnicity NOT HISPANIC OR LATINO
            Address 7472 SPRINGSIDE DR
         Municipality MYRTLE BEACH
                State SOUTH CAROLINA
           ZIP Code 29588

      PHONE NUMBERS
             Cellular (917) 545-7316
               Other (843) 945-2692
               Other (843) 650-9329

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   LINKAGE FACTORS

     Resident Status RESIDENT
         Age Range 22-29 YEARS


 2. SUBJECT # 2 -




              -


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 3. SUBJECT # 3 -




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                       -
 5. SUBJECTJUV # 1 - GROOMS STEELE, CAITLIN

   CASE SPECIFIC INFORMATION

                 Sex FEMALE
                Race WHITE
        Date Of Birth FEB-13-1992
            Address 102 VISTA VERDI CIR UNIT 320                   Apartment 320
         Municipality LAKE MARY
                State FLORIDA
           ZIP Code 32746
             Cellular (727) 424-2541

   PERSON PARTICULARS

     Place Of Birth FLORIDA
        Citizenship AMERICA - UNITED STATES OF
      Marital Status MARRIED
           Ethnicity NOT HISPANIC OR LATINO
Language(s) Spoken ENGLISH
          Disability NO


   MASTER NAME INDEX REFERENCE

               Name GROOMS STEELE , CAITLIN
                 Sex FEMALE
                Race WHITE
        Date Of Birth FEB-13-1992
            Ethnicity NOT HISPANIC OR LATINO
            Address 102 VISTA VERDI CIR UNIT 320                   Apartment 320
         Municipality LAKE MARY
                State FLORIDA
           ZIP Code 32746

      PHONE NUMBERS
             Cellular (727) 424-2541


   LINKAGE FACTORS

     Resident Status NON-RESIDENT
         Age Range 16-17 YEARS




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Related Business(es)

 1. PREMISE # 1 -




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                                                                                      Follow Up Report # HS 1

Follow Up Report # 1


   ASSIGNMENT INFORMATION

        Assigned To 222418- CORTES, PEDRO                               Rank DETECTIVE
           Capacity INVESTIGATE/CASE MANAGER                         Org Unit JUVENILE SECTION
       Assigned On MAY-15-2018 1507                                       By 4398 - RASCHKE, LEONARD
      Report Due On JUN-05-2018 (TUE.)



   SUBMISSION INFORMATION

       Submitted On JUN-16-2018 1728
        Checked By 30207 - CAPITANO, FRANK
        Approved On JUN-17-2018 (SUN.)                                   By 30207 - CAPITANO, FRANK



   FOLLOW UP CONCLUSION

              Follow Up YES
             Concluded




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  Narrative Text
              Type DETECTIVE FOLLOW UP
             Author 222418 - Cortes, Pedro
       Related Date Jun-16-2018 17:21

    On May 15, 2018, I was assigned this case and upon review I learned the victim,                    was a
  dancer at the                                  located at                                         . The



  -
  suspect, Mitchell Moore, was her dance teacher. All incidents that occurred between Mitchell Moore and
                   were in the year 2010. On the first incident where Mitchell Moore touched
  they were at his apartment and there were other girls from the dance studio. The other girls were
  Malika,                    and Christina. Mitchell Moore had recently had a
  They all decided to watch a movie and she was under a blanket with Mitchell Moore on the couch.
                                                                                                       -
                                                                                       and was on bed rest.

              was sitting with her legs criss crossed and Mitchell Moore touched her leg. He then touched
  her inner thigh, and slowly made his way to the outside of her shorts rubbing her vagina. He then went to
  her underwear and stopped there. Later that night they sent text messages back and forth and he said he
  wanted to go under her underwear and he loved how he could feel how wet she was.


     During the second incident, they were at another dancer's house, Alex Foley, who lives in Clearwater, FL



                                                                  --
  at an unknown address. There were other girls from the dance studio having a bonding day. After
  spending the day on the boat, they all went inside the house to watch a movie.
  floor next to Mitchell Moore with a blanket covering them. Mitchell Moore touched
                                                                                                   laid on the


  He then grabbed
                    -
  vagina with his hand making skin-to-skin contact. Mitchell Moore then put one finger inside her vagina.
                                       hand and made her touch his penis, which was hard. This all
  happened very quickly because all the other girls were sitting around them.




  friend, Gabby Morey.
                         - -
     The first time Mitchell Moore sent

                                                                    - -
                                                           a photograph of himself was when she was with her
                                         had a red Envy 3 cell phone at the time. When
  received the photograph, it was of Mitchell Moore with his basketball shorts on and no t-shirt. Mitchell
  Moore was flexing his muscles in a mirror within a bathroom however; she could not see his face.


  about
                                                                    --
               was surprised and freaked out a little bit but in a happy way because she had a crush on him.
  She showed the photograph to Gabby Morey and she promised to never tell anyone.
                   yoa when he received the photograph. The first time they started sexting
                                                                                                            was




                                                                -
  remembered sending Mitchell Moore a photograph of herself from her belly button down and she was
  laying in bed with her underwear on. There was a time while                       was stretching in dance
  class that she caught Mitchell Moore looking at her butt. The look Mitchell Moore gave her, made her feel
  that he wanted to "fuck her". Nothing else happened that day.


    Mitchell Moore started to pick
                                    -              up from her residence since she lived near the dance
  studio. When Mitchell Moore picked her up he would touched her left leg and they would hold hands.
  They kept their relationship extremely private and they did not want other people seeing the connection
  they had.


    The first time they kissed, they were at the dance studio and there was no one else around. Mitchell


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  Moore closed all the blinds and they started to hug for a long time. He then kissed



                                  -                                                  -
  were times Mitchell Moore sent her text messages stating what sexual things he wanted to do to her but
  she was too scared to do them.
                                                                                                         There

                                                     explained how she felt Mitchell Moore was grooming her
  through the years to have a secret sexual relationship. Mitchell Moore gave her gifts, gave her solo
  practices, sent her text messages of himself and telling her what sexual things he wanted to do to her. He
  told her to cut and straighten her hair, which she did to please him. Mitchell Moore had her delete all the
  text messages every night and she changed his name in her phone to a fake name. They would send
  each other videos of themselves masturbating. Mitchell Moore would always ejaculate in the videos.



                                 - -
       Mitchell Moore left suddenly in December 2010, because he wanted to be with his fianc??, Dusty
  Button, who was in London.
  incident to her. Caitlin Grooms disclosed to
  with Caitlin Grooms.
                                               spoke to her friend, Caitlin Grooms, and disclosed the
                                                               that Mitchell Moore had sexual intercourse




    I conducted a RMS search on Mitchell Moore and discovered an incident with victim,

  allegations similar to
                        -
  which was reported in 2012 see HCSO Case #12-315380. I reviewed the case which indicated sexual
                                          allegations. I learned Mitchell Moore's local residence was
  303-3478 Saint Bart Ln. Tampa, FL 33614, however he was no longer living there. Contact was made
  with Dusty Button's mother, Laura Button who provided the phone of 917-545-7316 for Mitchell Moore.
  Attempts to obtain an address for Mitchell Moore were unsuccessful but it was learned that he was
  somewhere in Boston since Dusty Button was part of the Manchester Ballet. Mitchell Moore attained an
  attorney and refused to provide a statement. The case was presented to the State Attorney's Office and
  they cleared it with a case clearance form. I conducted a criminal history search on Mitchell Moore and
  discovered one shoplifting arrest in 2003 in South Carolina.


    On May 16, 2018, I contacted Criminal Intelligence Analyst, Susan Roscoe, in an attempt to locate a
  current address and phone number for Mitchell Moore. She provided the following information:


  510-7950 W. Sunset Blvd. Los Angeles, CA 90046
  531-445 Artisan Wy. Somerville, MA 02145
  Phone numbers (843-945-2692 and 843-650-9329)


    On May 30, 2018, at 1930 hours, I received the recorded interview of



         -                                                                -                  from Los Angeles
  Police Department (LAPD) Detective E. Alvillar #35070 which I later impounded. On June 16, 2018, I
  called                 however; I was unable to leave a voicemail because her voicemail was full. I called
  Caitlin Grooms and left her a voicemail to call me back. I called                       and left her a

  received a phone call from
                               -
  voicemail to call me back. I called               and left her a voicemail to call me back. At 1645 hours, I
                                              and she advised she might have both of the cell phones she
  utilized to communicate with Mitchell Moore in 2010. She also mentioned the cell phones would be at her
  mother's residence in Lutz, Florida. She will call me back when she has spoken to her mother and located
  the phones. I also explained the process of a controlled call and she agreed to conduct it on June 26,
  2018, at 1300 hours. At 1700 hours, I received a phone call from Caitlin Grooms and she agreed to meet




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  with me at the Criminal Investigation Division on June 20, 2018, at 0900 hours. I assigned myself another
  follow up pending further investigation.




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                                                                                      Follow Up Report # HS 2

Follow Up Report # 2


   ASSIGNMENT INFORMATION

        Assigned To 222418- CORTES, PEDRO                               Rank DETECTIVE
           Capacity CONTINUE INVESTIGATION                           Org Unit JUVENILE SECTION
       Assigned On JUN-16-2018 1728                                       By 222418 - CORTES, PEDRO
      Report Due On JUL-16-2018 (MON.)



   SUBMISSION INFORMATION

       Submitted On AUG-01-2018 0726
        Checked By 30207 - CAPITANO, FRANK
        Approved On AUG-01-2018 (WED.)                                   By 30207 - CAPITANO, FRANK



   FOLLOW UP CONCLUSION

              Follow Up YES
             Concluded




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  Narrative Text
               Type INTERVIEW-OTHER
    Related Person (Subject #1) GROOMS STEELE, CAITLIN, (DOB: Feb-13-1992)
             Subject (Subject #1) GROOMS STEELE, CAITLIN      (DOB: Feb-1
             Author 222418 - Cortes, Pedro
       Related Date Aug-01-2018 7:24

  Caitlin Grooms Steele was interviewed and she stated the following:


    While she was at the dance studio, Mitchell Moore "Taylor" was an instructor there. They would talk all
  the time, send text messages, and communicate via AIM. Taylor dated a girl named Dusty Button but then
  she left to London to purse her dancing career. Dusty Button is a renown ballet dancer. Taylor broke up
  with her and started dating a girl named                       who was at the dance studio.                was




                                 --
  two years older than she was at the time. Taylor would talk to multiple girls at the dance studio. Some of
  the ones he spoke to most were                                                                and Shannen
  Moen (813-230-4029). She doesn't know what happened between Taylor and all the girls but there was
  one time she saw Taylor and
  studio and Taylor went to Clearwater beach. She remembered seeing Taylor and
                                                                                       -
                                       holding hands. In the summer of 2010, a group of girls from the dance
                                                                                               lying face down on
  their towels. She saw their hands touching and their fingers were interlaced. At the time, she didn't think




                -
  girls would hang out with Taylor and watch movies. She remembers
  remember if
                                                                         -
  much of it but now she definitely knows that was wrong. There were different times where the group of



                                                                                               -
                                                                                  being there but she can't
                       and Taylor were sitting together. There was another time that Taylor had a

  well soon cards. She can't remember if there was anything inappropriate with Taylor and
                                                                                              -
           around June or July 2010. The group of girls went over to Taylor's apartment and brought him get

  remember there were rumors around the dance studio. Taylor initiated a friendship with her when she was
  17 years old and he was 21 years old. Once she turned 18 years, the friendship turned into a
  boyfriend/girlfriend relationship however there were no allegations of any crimes occurring. One time
  Taylor told her that he had a dream where he had a threesome with her and
                                                                                                         She does



                                                                                              She thought that
  was odd but then he played it off. In 2011, Taylor moved to London to be with Dusty Button who is now
  his wife. In August 2011, Taylor would call her to see how she was doing and then he would asked if there
  were any rumors going around at the dance studio. Once she replied no, he would quickly get off the
  phone. She heard a rumor one time that a parent had witnessed Taylor kissing                 She doesn't know
  who the parent was or what happened after that. Taylor eventually left the dance studio on bad terms
  because more rumors came up about his inappropriate behavior. Evette Breheny is the owner of the

  met with
             -
  that she had a secret relationship with Taylor and that is when
                                                                  -      broke down crying.
                                                                                             - -
  dance studio and would be able to provide more information. Later in August 2011, she was in LA and
                  for lunch. They began talking and somehow they got on the topic of Taylor. She told
                                                                                                      disclosed
  that Taylor had been doing things to her too. They discussed the things Taylor would say to each of them
  and it was the same. They both believed that Taylor did this to groom them into a relationship. They last
  time she checked on Taylor, it looked like he and Dusty were living in Los Angeles. She believes that he
  no longer teaches dance but he is a videographer and photographer. She has noticed multiple pictures on
  Instagram of underage girls in ballet outfits and doesn't know if he is still doing what he did back then.


  This concludes Caitlin Grooms Steele's interview.




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  Narrative Text
               Type INTERVIEW-OTHER
    Related Person (Subject #2)
             Subject (Subject #2)
             Author 222418 - Cortes, Pedro
       Related Date Aug-01-2018 7:25

                         was interviewed and she stated the following:


    She started dating Taylor when she was ■ yoa. His name was Taylor Moore and he changed it to
  Mitchell Moore. Taylor was very abusive during their relationship. Taylor would grab her hair, kick her in
  the stomach, and squeezed her until she couldn't breathe. This happened more than 15 times at different
  locations. It happened at her dorm room at the                     . She never reported the incidents
  because she was young and afraid of him. Their relationship because sexual at the end of her senior
  year. She felt pressured to have sex with Taylor. She was ■ yoa at the time and Taylor was
  approximately 22 or 23 yoa. Their relationship lasted for three years. She felt pressured to have sex
  because he would tell her that she would lose him if she didn't have sex with him. She lost her virginity in

  inappropriate relationship with
                                               -
  April 2008 to Taylor just a few months before she turned 18 yoa. She always had a feeling Taylor had an
                                                  and Caitlin Grooms. She never saw anything happen
  between them but she just had that feeling that something was going on. She doesn't have any of the
  texts messages that Taylor sent. Every time Taylor leaves a city, he changes his identify. She works at
  the dance studio and she knows that Taylor was fired. The owner of the dance studio, Evette Breheny,
  didn't know what was going on with Taylor. There was one time that Taylor got upset with one of the
  parents at the studio and blew up at them. Evette eventually said that was enough and fired him. Taylor
  eventually broke up with her and started dating Dusty Button. She contacted Dusty through Facebook to
  let her know the kind of person he was. Taylor took her last name when they got married. Taylor blocked
  her and all the other girls from the studio. She never saw anything herself but she knew Danielle Porupski
  saw Taylor and           kissing at the loading dock while at a dance competition at the Lakeland Civic
  Center. This happened sometime between 2006 to 2008. Taylor also taught at the Applause Dance
  studio in Oklahoma. The owner of the dance studio is Emily Shock. Taylor was staying at the house of a
  girl at the dance studio but she doesn't know what happened.


  This concludes                              interview.




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                                         GENERAL OFFENSE HARDCOPY                                        EXCEPTION
                                               CUSTOMER SERVICE
                                               (FONDLING/FORCIBLE)




  Narrative Text
               Type INTERVIEW-OTHER
    Related Person (Subject #3)
             Subject (Subject #3)
             Author 222418 - Cortes, Pedro
       Related Date Aug-01-2018 7:26

                 was interviewed and she stated the following:


     She was not in a relationship with Taylor Moore; he was her dance teacher. Taylor would isolate each of
  the girls by saying they were good dancers and give them personal stories about his mom. She has two
  strong memories of Taylor Moore. The first memory was of a dance convention and she was at a pool.
  The pool was at a hotel in Florida but she can't remember what city it was in. She was                 years old
  at the time (2004 or 2005) and she was at the pool with Taylor. Taylor began stroking her leg and slowly
  got closer to her vagina. She was not okay with this touch so she got up and he didn't touch her vagina.
  She then saw him going around the pool to other girls at the pool. She saw him touching                 on her
  leg too. She could be confused but she does not think so. There were other people there at the pool but
  off to the side. Taylor didn't say anything when he touched her. Taylor was very affectionate and her
  friend, Erised Ortiz (813-951-2072), noticed Taylor was very close to all these little girls. The parents at
  the dance studio did not really pay attention to the things that were going on. Her mom would also be
  skeptical of everything and would not let her go anywhere. When she was                  years old, her mom let
  her go to             birthday party. Her mom let her spend the night at              house because there was
  a bad storm and her mom wasn't coming to get her. While she was there for the birthday party, Taylor
  was also there because he was living at              house. Everyone wanted to watch a movie and they
  decided to put on a scary movie however; she doesn't like them, so she went to the bedroom to go to
  sleep early. Taylor started texting her and asking her if she wanted company and she said yes. Taylor
  then came to the room and he started talking to her. Taylor was the only one that came up and the rest of
  the girls were still watching the movie. Taylor then laid down next to her and held her. She didn't know
  what to do so she just froze. Taylor then started kissing her and putting his tongue in her mouth. Taylor
  was very forceful and she did not want it. Taylor then put his hands down her pants and touched her
  vagina. She had lost her virginity with someone else so she knew the difference between wanting to have
  sex or not. She did not want him to touch her so she began to fidget so he wouldn't touch her. Taylor
  then told her to relax and that he did not do this with all the girls. At that time, another girl was walking to
  the room and they could hear the footsteps. Taylor jumped off the bed at "ninja speed", laid on the floor,
  and pretended to be asleep. The girl told her they had changed the movie and if she wanted to come
  down. She said "yes" so she went downstairs with the rest of the girls. Taylor never approached her
  again after that. Taylor said something to the rest of the girls because there was a divide with her the girls
  after that incident. As she got older, she graduated from the dance studio and she began to teach there.
  She then saw the inappropriate behavior with the younger girls. The little girls thought of Taylor as a
  "God". Taylor would have solo rehearsals with the girls and would have them close the blinds so no one
  could see. Taylor then created a rule that the girls had to wear sports bra and booty shorts. Taylor
  claimed he wanted them to wear those clothes so he could check the line but he didn't need them to wear
  that to check that. Checking the line is just making sure the girls' legs are straight. There was one time
  she followed Taylor and another girl, Caitlin Grooms. Taylor and Caitlin left in different cars and they
  drove to another parking lot where Caitlin got into Taylor's car. She left after that and doesn't know if
  anything else happened. She soon left the dance studio because she got a job dancing on a cruise ship.



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  She lost contact with them after that. She did lose her best friend,                       when Taylor and
            started dating. When they broke up, she spoke to            and learned of the way Taylor was
  treating her. In 2010 or 2011, Taylor left the country and blocked everyone. Taylor eventually married
  Dusty Button and he changed his name to Mitchell Button. They lived in Boston because Dusty was
  working at the Boston Ballet or the Boston Conservatory. She had no contact with Dusty, Taylor, and they
  blocked her on Instagram. She's looked through Facebook and she has not been able to find Taylor. She
  didn't report the incidents with Taylor because she did not want to report it and let her mother know. She
  was unsure if she was willing to do a controlled call.


  This concludes                   interview.




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  Narrative Text
              Type DETECTIVE FOLLOW UP
             Author 222418 - Cortes, Pedro
       Related Date Aug-01-2018 7:11

    On June 20, 2018, at 0900 hours, Caitlin Grooms Steele arrived at the Criminal Investigation Division
  located at 2224 N. Falkenburg Rd. Tampa, FL 33619. I met with Caitlin Grooms Steele, escorted her to
  the interview room, and completed a video-recorded interview. During the interview, I learned Mitchell
  Moore had initiated a friendship with Caitlin Grooms Steele when she was 17 years old and he was 21
  years old. Once she turned 18 years, the friendship turned into a boyfriend/girlfriend relationship and there
  were no allegations of any crime occurring (see interview).


    On June 27, 2018, at 1400 hours, I called
                                               -             and explained the process of a controlled call.
  She agreed to complete the controlled call from her phone number of               to Mitchell Moore at
  phone number 917-545-7316 however; he did not answer. We attempted numerous controlled calls to
  Mitchell Moore to the following phone numbers however; he did not answer:


  917-454-7316
  843-945-2692
  843-650-9329


    On June 29, 2018, I received a call from                       and conducted a phone interview (see
  interview). I learned                      and Mitchell Moore started dating when she was ■ yoa and
  Mitchell was approximately 22 or 23 yoa. Mitchell Moore was abusive towards                            by
  grabbing her hair, kicking her in the stomach, and squeezing her until she could not breathe. This
  happened in between 2008 - 2011. The statute of limitations has passed on all the domestic violence
  allegations. The relationship eventually became sexual when she stated she felt pressured to lose her
  virginity to Mitchell Moore. They had sexual intercourse in April 2008 and then their relationship lasted for
  three years (see interview).




  Moore. I called
                   -
    I contacted Crime Analyst Susan Roscoe who was able to locate two more phone numbers for Mitchell

  controlled call then. On July 31, 2018, at 0840 hours,
                                                         - -
                                     and she advised she would be coming to Florida soon and could do the

  Investigation Division in order to conduct another controlled call.
  call from her phone number of
                                                                            met with me at the Criminal
                                                                                      conducted the controlled
                                                 to Mitchell Button at phone number 857-498-0407 however,

  name of Mitchell Button at that phone number.
                                                  -
  there was no answer. We tried another call and a female voice answered stated there was no one by the



                                                                                           -
                                                                      then completed another controlled call to
  phone number 617-501-6228, at which time a younger female voice answered. When
  asked for Mitchell or Taylor Button, the phone hung up. She tried another call to the same phone number
  at which time it went straight to voicemail.




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    On July 31, 2018, I called the phone number 617-501-6228 and left a voicemail to call me back. I also
  located an email address for Dusty Button so I sent her an email requesting that Mitchell Moore call me
  back regarding the investigation. I assigned myself another follow up pending further investigation.




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                                                                                      Follow Up Report # HS 3

Follow Up Report # 3


   ASSIGNMENT INFORMATION

        Assigned To 222418- CORTES, PEDRO                               Rank DETECTIVE
           Capacity CONTINUE INVESTIGATION                           Org Unit JUVENILE SECTION
       Assigned On AUG-01-2018 0726                                       By 222418 - CORTES, PEDRO
      Report Due On AUG-31-2018 (FRI.)



   SUBMISSION INFORMATION

       Submitted On OCT-16-2018 0731
        Checked By 136776 - COLE, PATRICK
        Approved On OCT-16-2018 (TUE.)                                   By 136776 - COLE, PATRICK



   FOLLOW UP CONCLUSION

              Follow Up YES
             Concluded




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  Narrative Text
              Type DETECTIVE FOLLOW UP
             Author 222418 - Cortes, Pedro
       Related Date Oct-12-2018 14:34

  This is my third supplement on this case.


    On August 08, 2018, I called the Los Angeles Police Department, obtained a phone number for
  Detective T. Noggle (310-726-7757), and left her a voicemail to call me back. I received a voicemail from
  Detective T. Noggle and then I called her back and left her another voicemail. I also called and left
  voicemails on August 15 - August 17, 2018 and on August 20, 2018. On August 20, 2018, I called the Los
  Angeles Police Department, obtained another phone number for Detective E. Alvillar (310-726-7757), and
  left a voicemail to call me back.


    On August 21, 2018, I made contact with Detective T. Noggle who advised Mitchell Moore's residence
  fell within the Hollywood Division and to speak with Detective Bill Rich at phone number (213-473-0447)



  could complete a controlled call with
  controlled call later this week.
                                         - -
  and Cell phone (310-994-5520). I called Detective Bill Rich and he was able to provide me with a phone
  number of (857-523-5434) for Mitchell Moore. I called                     and she agreed to complete
  another controlled call however she was back in California. I called Detective Bill Rich and he advised he
                                                         Detective Bill Rich advised he would schedule the




    On August 31, 2018, I called Bill Rich and left him a voicemail. On September 07, 2018, I called
  Detective Bill Rich and left another voicemail. On September 14, 2018, I called the Los Angeles Police
  Department and requested the assistance of another detective. I made contact with Detective Kendra

  Detective Kendra Browne advising
                                        - -
  Browne who advised she could assist in completing a controlled call. I received a phone call back from


  Florida. On September 21, 2018, at 1530 hours,
                                                                           -
                                                       was going to be in Tampa, Florida next week. I
  advised Detective Kendra Browne I would complete the controlled call when                     arrived in
                                                                     responded to the Criminal Investigation
  Division and we completed a controlled call from her phone number of
  phone number of 857-523-5434 however, he did not answer. I then had
                                                                          -             to Mitchell Moore's
                                                                                            complete
  numerous controlled calls with the phone numbers that were previously documented in this report and still
  did not receive an answer from Mitchell Moore.


    On September 25, 2018, I contacted Detective Kendra Browne, requested that she respond to Mitchell
  Moore's residence, and conduct an interview. On September 26, 2018, I received an email from Detective
  Kendra Browne advising she went to the address however, no one answered the door. I also learned she
  left a business card with her contact information.


    On October 02, 2018, at 1522 hours, I received an email from Attorney Ken Swartz advising he was
  representing Mitchell Moore. I called Ken Swartz, advised him about the case, and he stated he had to



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  speak with Mitchell Moore. On October 08, 2018, I called Ken Swartz and he advised Mitchell Moore
  would not be available for an interview.
  On October 09, 2018, at 1400 hours, I met with Assistant State Attorney (ASA) Linda Shiflet and presented
  the case to her. After reviewing the facts of the case, ASA Shiflet advised the State Attorney's Office
  would not be filing criminal charges since they would not be able to satisfy the burden of proof beyond a
  reasonable doubt. She signed a case clearance form and I attached it to the report (see attached). I
  request this case be exceptionally cleared via SAO LOR.




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  Narrative Text
              Type CLEARANCE SUMMARY
             Author 222418 - Cortes, Pedro
       Related Date Oct-12-2018 14:34

  This report was appropriately titled and has no IBR errors. I request this case be cleared exceptionally via
  SAO LOR.




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Clearance Information

           Agency HILLSBOROUGH COUNTY
    Cleared Status CLEARED EXCEPTIONALLY-ADULT - PROSECUTION DECLINED (BY SAO OTHER THAN
                    LACK OF EV
        Cleared On OCT-16-2018 (TUE.)
 Complainant/Victim NO
           Notified




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Related Property Report(s)


   REPORT INFORMATION

   Property Report # 709677
        Case Status EVIDENCE
      Submitted On OCT-12-2018                                          By CORTES, PEDRO
  Disposal Authority CORTES, PEDRO                                 Org Unit JUVENILE SECTION

      RELATED EVENTS
             Offense GO HS 2018 - 336787

       Related Items 2


   ARTICLES

              Status EVIDENCE
               Tag # HS709677 - 1
              Article YOFFICI- OTHER ITEMS (MISCELLANEOUS)
               Make VERBAT
               Color GRY/
         # Of Pieces 1
           Serial # 1 UNKNOWN
         Description DVD WITH INTERVIEWS
    Current Location W1 GEN/05/D/08/G


   ARTICLES

              Status EVIDENCE
               Tag # HS709677 - 2
              Article YOFFICI- OTHER ITEMS (MISCELLANEOUS)
               Make NO BRA
               Color RED/
         # Of Pieces 1
           Serial # 1 UNKNOWN
         Description DVD WITH VICTIM INTERVIEW
    Current Location W1 GEN/05/D/08/G




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Related Attachment - Other Agency Reports

        Description LAPD REPORT
  Reference Number



                                                Request for Confidentiality of Information
                                                                • CONTROLLED DOCUMENT*
                                                                                                                                 DRNO.
                                                                                                                                  199917774
         La en rcement author~ies are required by law to release ce in info             lion on rime reports upon request, as a matter of public record.
         If someone asks for information on this crime report, your name will be released with the information unless you request that your name be
         kept confidential pursuant to Section 6254 of the Government Code. Offenses defined in Section 6254 of the Government Code include
         Penal Code Sections 220,236.1, 261, 261 .5, 262, 264, 264.1, 265 , 266a-j , 267,269, 273a, 273d , 273.5, 285, 286, 288, 288a, 288.2, 288.3,
         288.5, 288.7, 289,422.6, 422.7, 422.75, 647.6 and 646.9.
         By initialing the appropriate statement below and signing this form,                      By delaying an interview and not engaging with law
        you are informing law enforcement agencies and the courts of              - - - - enforcement at this time, the following may occur:
                     • for confidentiality.                                          (vid. or
                                                                                  ofcr. initials)
                                                                                                   • An Abbreviated Sexual Assault Fo'rehsic Medical Exam
                                                                                                   collecting only perishable evidence will be performed.
                           I hereby exercise my right to confidentiality and                       • Evidence that would normally be collected by law
        (vlCI. m,oa,sJ request that my name not become a matter of                                 enforcement will be permanently lost.
                           public record pursuant to Section 6254 of the                           • Suspects and witnesses will not be Interviewed, they
                           Government Code.                                                        may not be identifiable or located, or wllllng to cooperate
                                                                                                   at a later time.
                           I hereby decline to keep my name confldentlal.                         • II may be more difficult, If at all possible, for a
       (vid. inifials)                                                                             prosecutor to file charges against a suspect.
                                                                                                  • I may or may not be eligible for California Victim
                          The victim Is a minor without a parent or guardian
                                                                                                  Compensation Funds to pay for out-of-pocket expenses
         _ _in-ib-.a-,s-) present. The below signed authorized agent
      -(ofcr
                                                                                                  relating to this crime, including counseling, out-of
                          hereby exercises the right of privacy for the
                                                                                                  -pocket medical expenses for medical evaluation and
                          minor and requests that the victim"s name not
                                                                                                  treatment, moving expenses and lost wages by not
                          become a matter of public record pursuant to
                                                                                                  cooperating with law enforcement per State law.
                          Section 6254 of the Government Code.
                          /This authorization should be obtained through the                      After a Sexual Assault Forensic Medical Exam is
                          Area Major Assault Crimes coordinator).                      .          performed, law enforcement generally will transport the
                                                                                  01 (vi~\°'1 ) evidence collected to storage, and law enforcement will
      1,                                                         , advised victim   er. n, 8 • store this evidence for 2 years. All evidence collected
         -----------------      {officer advising)                                                may be destroyed by law enforcement agencies after 2
                                                                                                  years and a 60 day notice will be given to me pursuant to
      (named below), that his/her name will become a matter of public
                                                                                                  the Sexual Assault Victim Bill of Rights. Law
      record unless he/she requests that it be kept confidential.
                                                                                                  enforcement will need, however, a current address on
                                                                                                  file. If requested in writing, I will be notified before the
                                                                                                  evidence kit ls desto ed.




      ~ "Taking Action" booklet provided.             D Hate Crime Resource Pamphlet provided.            D Other:
      □ Rape Victim Counseling Center notified (264.2 PC) with consent of victim.                                      ------------
                                                                                                                           f ,
                                                                                                                'l\\,c,v•,~ISt
     ~ Victim informed of right to have a victim's advocate and/or support person of his/her choosing. t-1,.,, l,t \'\ol"61 W vi cA-i w,
          Victim's Response:
                               ------------------------------------------
      □ Victim informed of right to be interviewed by an officer of the same gender.
          Victim's Response: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--111
      D Domestic ViolenceMctim Information and Notification Everyday (DVV) Pamphlet, Form 15.42.01, provided.
     Date/Time victim advised:                                     Officer making notifications: _ _ _ _ _ _ _ _ _ _ __               Serial No.:
     03.02.00 (05/13)
                                 ----------                          D Continuation Sheet Attached




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                                                                                                              Los Angeles
                          Page   _I_       o f £ 03.01.00(03118)

                            CASE SCREENING FACTOR(S)
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                       □ PRINTS OR OTHER ~DENCE NOT PRESENT
                       □ MO NOT DISTINCT
                       0 PROPERTY LOSS LESS THAN $5,000                                                                                                                                                                         D
                       D NO SERIOUS INJURY TO VICTIM                                                                                                                                                                            D
                       D ON..YONEVICTtMINVOLVED
             □ PREMISES (SPECIFIC                    l'o'PE)



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            == □            SIDE
               D            ROOF

            □          D FLOOR
                       □ OTHER
                  v1crs YEH.OF 1                                                                    NOTIFICATION(S) (PERSON & DIVISION)




        □ REPORTING
          EMPLOYEE(S)




       □         S-2     PERSONAL. ODDITIES (Ur-AJSUAL F~TUI\ES, SCARS, TATTOOS, ETC.)


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                   INVOLVED PERSON(S)                    CP. CONTACT PERSON (DOMESTIC VJOlENOE)
                         NAME                                               sex oesc             DOB



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       .,                                                                                                                                       IS NiY OF lHE VICTIM'S PROPERTY MARKED WITH AN OWNER APPLIEO

       ;;:                                                                                                                                      :~~~F~~~ 7~:!R? TIVE.                       YES   □          NO   □
        0                                                                                                                               DETECTIVE SUPERVI~ REVIEWING                                  SERIAL NO.
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       i                                                                                                                                                                                 C>.TEGORY




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                                                    CONTINUATION SHEET
        Los Angeles Police Department

                    TYPE OF REPORT                                         BOOKING NO.
                    Penetration w/ a Foreign Object/Crime Against Child
                        ARTICLE         SERIAL NO     BRAND   MODEL NO .




        Source of Activity:
        On 5/4/18, I was assigned to Harbor Sexual Assault Detective Unit, 5W42. The victim
        came to Harbor Police Station to make a report. Inc.-#' l6V5~o0l&a-lP

       Investigation:
       I interviewed the victim. The interview was audio and video recorded. The victim gav
       me a typed statement. I had the victim initial each page at the bottom right and sign
       and date the last page. The victim's therapist, Lisa Lenora (DOB: 5/27/57), was
       present for the interview. The following is a paraphrased account of the victim's
       statement:

       The victim was a dancer at                              in Carrollwood, Tampa, •
       Florida. The suspect, Mitchell Taylor Moore, was her dance teacher. All incidents tha
       occurred between the suspect and victim was in the year 2010.

       The first time the suspect touched her, they were at his apartment (located in
       Carrollwood) with other kids from the dance studio. They all watched a movie. She s t
       on the couch next to the suspect with a blanket covering them. The suspect touched
       her on her leg and inner thigh. He then began rubbing her vagina making skin to skin
       contact.

       The second time the suspect touched her, they were at another dancer's house (Alex
       Foley in Clearwater, Fl) with other kids from the dance studio having a bonding day.
       After spending the day on the boat, they all went inside the house to watch a movie.
       She laid on the floor next to the suspect with a blanket covering them. The suspect
       touched the victim's vagina and made skin to skin contact. The suspect then put one
       finger inside of her vagina. The suspect grabbed the victim's hand and made her
       touch his penis. She stated the suspect's penis was hard.

       The third incident occurred at the dance studio in Carrollwood. They were at the studi
       alone and the suspect kissed her. She does not remember if the kiss occurred before
       the touching or after.

       The victim stated these were the only three incidents that occurred between her and
       the suspect. She stated they texted each other multiple times about things sexual in
       nature. The suspect sent her multiple videos of him masturbating and she sent him
       multiple videos of her fingering herself.




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                                                    CONTINUATION J;HFFT
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        The suspect moved out of the country in December 2010.
        between the suspect and victim.

        The victim stated the first person she told about the incidents with the suspect was
        Caitlin Grooms. She told Caitlin in 2011, approximately 6 months after the suspect le
       the country. Caitlin told her that she had sex with the suspect. She told her mother
       .and people at the dance studio in 201 1. No one reported the incidents to the police.

        MT/Injury:
        None

       Photos:
       None

       Evidence:
         NONE
       Additional:
       None

       Court Info:
       I can testify to the contents of this report.




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                 -when I noticed he was                                • " I remember sitting in               lap on the
                 floor at the dance studio,                                    in Carrollwood, Tampa FL. It was the
                 time of year when we started ouf competition pieces, probably nearly done with the pieces (end
                 of summer). I wasn't in any of taylors pieces at t~ oint because i wasn't old enough, he dldnt
                work with my age group which at the time i was -           2008) i was advanced for my age and was
                moving up next year, so id be able to work with him and train with him. So, as me and _
                were sitting on the floor together during the companies lunch break where eve,yone was sitting
                in the lobby to eat, taylor was sitting in a chair right In front of us. Then.       gets a text on her
                sidekick phone that says, "next year i want to do a solo for-          . and ,       howed me the
               text and we alls-             was living with-          her sister-         and her parents at the time.
               I don't know why.             nd Taylor were already close and had a good bond, and I looked up
               to -         ve,y much. She was like my older sister. And I wanted to be close with Taylor like she
               was. And I did, I felt so special, I felt something different, a different kind of energy coming from
               this man. Ve,y loving and open, I thought. Kind of flirty. He was an attractive 26 year old man.
               New to the studio that year, so it felt good being one of the first younger kids that he wanted to
               work with.

                -how I took his class extra instead of hip hop because I was "a~            hlm. I remember when
                I first started taking Taylor's class at CDA (2009,- -· I had waited a year
               because I was too young. But I advanced quickly, I was one of the best dancers at the studio. I
               worked really hard and I paid off. So taking Taylors class the next season I remember it being
               really challenging, but I remembered how he said le-            that he wanted to work with me and
               do my solo this year, so I worked extra hard in his classes so I could do great. The first time I
               took his class I remember being In the back studio, it was our last class of the night so ft was
               really dark outside. And it was a really hard class for me ..l was smoked, meaning I had no idea
              what I was doing, his movement was really foreign to me. But I was determined to make his
               proud. So training with him more and more throughout the year, I got a lot better and he gave
               me notes and a lot of attention so I really excelled. I remember also being really involved in hip
              hop at the time training with Desere, and on Wednesdays, I believe, was the best dance day for
              me because I had hip hop, and taylors class. In that order. There was time for me to take an
              extra class with the lower level, in my schedule it worked out, so I use to take 2 hip hop classes.
              And once I started dancing with Taylor more as he started my solo, and we got closer through
              texting and the special looks at the studio, I stopped taking extra hip hop class and started
              •assisting" Taylor in his lower level class.

             ~ first time Taylor s9.nt me a photo of himself through texting (2010,_
             - -1remember I was home on a weekend night hanging out with my girlfriend
             Gabby Morey. I had an envy 3 red flip phone with the keyboard. And Taylor sent me a picture of
             him and his basketball shorts without a shirt on and he was flexing his muscles and he was in
             his bathroom and the perspective of the mirror says like a mirror picture of him with his shirt off
             and I remember being so surprised and freaked out a little bit like in a happy way because I had




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               a crush on him and I showed my friend was like oh my god look what my teacher just sent me
               but to not tell anybody and she was an Interesting girl, she had a rough family life and she didn't
               see anything wrong with this. We were kids like I must've been-      e was 27 by then and I was
               like. I don't remember but oh yeah she swore not to tell anyone and I don't think she ever did.

                -I remember when we first started Sextlng (2010). I remember sending him a photo of from my
                belly button down, of me laying on my bed in my underwear. There would be a space in
                between my skin and my underwear line and he said he likes that and he likes how when I
                stretch in the dance studio that the same thing happened with my booty shorts (small skin tight
                elastic shorts dancers wear) and he said he liked to look and imagine doing things to me. Then I
                remember going into the studio And it was one of his late night classes the lights were dimmed
               we were all stretching on our own I was in the big kids class and I was stretching my center
               straddle (when legs are open in 2nd position and leaning over to lay on my stomach) so I put all
               my weight in my stomach and my hands and the back of my booty shorts lift up a little bit from
               the arch in my back. I remember looking up at him and seeing him staring at my butt and smiling
               and looking back at me with these eyes like he wanted to fuck me. Then I remember feeling
              special in that moment. I didn't think he was looking at anyone else but me in the room. He
               made me smile my heart would race a little bit and I would get butterflies like excitement but
              kind of nervous but ultimately if I had any uneasy feelings about it I wouldn't of been able to tell
              because I was so high on feeling so special and loved of what I thought was love. I remembered
              this memory as I was sitting in the studio watching a Saturday rehearsal at the kids were in their
              dances and I was watching them dance and this triggered this memory for me.

              -I remember when taylor started picking me up for Saturday morning rehearsals, and he
              would take me home after. He was living on his own in a one bedroom apartment at this time.
              Once I started working with him more and telling my mom how he really pushes me and I enjoy
              working with him, and that he promised me traveling jobs and one day to assist him on
              Showstoppers Convention (the dance convention he taught for), I think my mom developed a
              trust to him and respected how he treated me good and excelled me as a dancer. So he offered
              to pick me up one Saturday morning, and I live very close to the studio, apparently I was on his
             way. And I asked my mom and she agreed to let him, these were like 9am rehearsals we had.
              So I'm sure my mom didn't mind. He picked me up and it was very exciting to me, and it looked
             like it was for him too. We still kept it pretty low key from anyone at the studio thought. This was
              my special relationship with Taylor, and if anyone saw the special attention I got with him I was
             afraid someone would take it away or be Jealous and try to steal this attention I was getting. Like
             how I saw what-           had wit~ him and I wanted it too, so I was never too open with him at the
             studio. Very secretive. When he would pick me up he would always grab my left leg or we would
             hold hands. He had a stick shift so I would have to hold his hand as he was shifting gears. I was
             shaving my legs by this time, and he would tell me that there was a really soft spot on my leg
             right under my kneecap near my calf, and he liked to rub it and hold my leg there. I thought it
             was really cute and it made me feel very special. When we got to the studio relatively early
             before anyone really showed up, he would park in the cotner near the bushes behind a few rows




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               of cars so we could be more discreet about getting in and out of the car. Of course people may
               see, but the less the better.

              - for m)-     blrthday -              me and the studio teachers and kids went out to dinner
              for my birthday at bahama breeze. Taylor and            ere dating publically. He sat next to me
              and we would subtly touch each others hands and play footle. He gave me a build a bear for my
              present and he would spray his cologne all over the bear so it was like I was "sleeping with
              Taylor". BamBam, the bear, became the studios mascot.

               -I remember the first time he touched me (2010). We ~                       ent with a few of the
              other older studio kids.-           Malika (she drove me), - -christina. Taylor had
              just gotten surgery and he was on bed rest and couldn't come teach at the studio so we all went
              over and brought him a get well soon balloon. We decided at one point to watch a movie, this is
              when I leamed movies older than 5 years old aren't cool anymore because this is what Taylor
              believed. So we picked a movie to watch and he grabbed a big blanket for us sitting on the
              couch, I was sitting next to taylor as we had out legs touching and the occasional hand holding. I
              was wearing my favorite white Hollister shorts and my Navy blue v-neck Hollister cap sleeve
              shirt. I was sitting criss cross so my legs were open and at one point his hand made his way to
              my leg, my inner thigh, and he slowly made his way to the outside of my shorts, ruddlng my
              vagina, then to my underwear. That's as far as he went. I have never been touched like that,
              and it did make me wet and he felt that I was. Later that night when we were texting he told me
              he wanted to go inside of my underwear and he loved that he could feel how I was wet.

             -Then he went to the next level of touching me, we went to this girl Alex Foley's house, she
             lived right on the water so we went on her boat for a studio bonding day. Again, most of the
             studio girls went, mosUy level 4 and 5 dancers. When we were all beat from the sun and
             decided to hang out inside and watch a movie. I was laying on the floor next to Taylor and we
             had a blanket over us. We were holding hands and touching each others legs, he slowly made
             his way to the outside of my bath suit bottoms and eventually went to touching my vagina skin,
             and then he put his fingers inside of my vagina. It didn't feel good or anything because I didn't
             know what it was supposed to feel like or stimulate. He grabbed my hand and had me touch his
             hard penis. This all happen very quick. We didn't do this for long because we were surrounded
             by the other studio kids. So we left it at that.

             -1 remember the first time we kissed. (2010, -             He had started my solo "Prague", we
             had a lot of alone time together. He would always close all the blinds in the room and make sure
             no one was around before we would hug each other for a really long time, I would listen to his
             heart beat. He would just hold me for a long long time. We would always text after reh and he
             would say how he wanted to do sexual things to me while no one was there, I was always too
             scared to. One night, we were in the back studio, it was very dark outside, no one was dancing
             at the studio anymore. And after he closed all the blinds he went into the hallway next to the
             bathroom and I followed him and we hugged each other for a long time again, and this time I




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               looked up at him and he pulled me in close, slowly, and we kissed. For awhile. My heart was
               racing, my breathing was shallow, I never really kissed anyone before.

               -Taylor played a big role in "grooming" me through the years (2009). Grooming is howtaylor
               trained my mind to keep this sexual relationship a secret. Grooming comes from the offender
               making the child feel special to them and gives the relationship a sense of security. My mom
               was never a "dance mom• - meaning a dancers parents who is constantly at the studio, in the
               dressing room, on the side of the stage, around all the dancers choices and friends. Taylor
               noticed me as a good target, and once he saw this and started talking to me more and showing
               me a lot of attention, he started giving me gifts. He gave me a bear for my -    birthday, a pair
               of socks from Hall of Fame Nationals (a competition he use to work for), he would also spray his
               cologne on all of these things. Then ·we started to be alone together, we had private coaching for
               my solo practice, and he would pick me up from my house for dance class. Once I had enough
              emo~ional dependence and trust, Taylor began to touch me in more sexual ways and sending
              pictures and videos to me. After this he really got strikt about me keeping everything a secret
              and to not talk about it, and if I did he threatened I would lose him and he wouldn't be able to
              talk to me anymore. He's the reason I started shaving my arms and• and cut my hair to my
              shoulders and straighten it everyday. He told me he liked me this way. He had me delete out
              texting conversations every night. I changed his name in my phone to a fake name.

              -We did send sextlng videos too. He would send me videos of him masturbating in his
              bathroom or on his bed, and he would cum In the videos every time. He asked me how I liked it
              and what I would do sexually to him. He asked me to send him videos too, and I send videos
              fingering myself in my shower, on my bed, or on my floor.

             -We would talk on the phone a lot, especially at night. I can't even count the times I fell asleep
             with him on the phone. I usually went to bed around 1am-3am talk to him. I remember a time we
             were chatting and he was breathing funny on the phone and I texted him to ask what he was
             doing after we hung up and he told me he was masturbting to the sound of my voice. I believe
             this was the gateway into sending naked photos and videos.

             -I remember when taylor left. It was very sudden (before Dec, 2010, ■· I was in■ grade, I
             had a phone and I would text him during class and during breaks. He told me he needed to call
             me so I went to the bathroom and called him and he told me that he was moving to London to
             be with Dusty Button (his current fiance), and that she had been waiting for him for 4 years and
             never dated anyone else but was just waiting for him there. So he wanted to go be with her
             again. They use to date and then he moved away. I don't know of their dating history much. But
             he told me this and my heart sank and I was very sad. I was hurt but I was also in school so I
             didn't let me emotions get the best of me. I was very understanding. There was drama with him
             and            t the studio and I knew he wasn't happy. This was a moment I began to feel
             unimportant, for some reason I was able to brush it off and not be so affected by it I got
             detention because someone walked in the bathroom while I was on the phone and told on me.




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               We weren't allowed to use our phones in school. But I didn't even care or fight it I was so sad.
               This is also when I stopped believing in God. I said "if God were real he wouldn't do this to me".


              Resources: Contact during period of coming out (2011, ■ Yrs old,




              Gabby Morey: the one friend I mentioned anything to at the time. I told her the first time Taylor
              sent me a shirtless photo. She was hanging out with me in Carrollwood at my parents house in
              my room. I had a big reaction when he sent the photo to me, so she asked what happen and I
              showed her the photo. Taylors face wasn't in the picture. He was wearing blue basketball shorts
              and the shirtless photo was taken In his bathroom mirror. One hand was holding the phone the
              other was pulling his shorts down a little.




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Related Attachment - SAO Letters

        Description CASE CLEARANCE FORM
  Reference Number




                                              CASE CLEARANCE FORM

                                                                                      Case#       /z{ - 53 ~:Zfr'i

             On\ ~ ° \        ,20 ~ ASA          ~    - ~ \ : met with Det.            Peiro Corf-Ls ~.l/1$' of
             the          f:fCSo                C~v=:;:' ~d ~as briefed on the facts of the case. In addition
             to the summary of the facts, ASA __~- " '-'-
                                                       - -· ~ -'--"
                                                                \.e'---_
                                                                     ,\- reviewed the following:



             After review of the aforementioned information provided by law enforcement, the State
             Attorney's Office will not be pursuing further criminal charges at this time for the following
             r✓):
             _     I. Law enforcement has determined there is probable cause to go forward. However, in
                      order to file criminal charges, the State must meet a much higher standard of proof of
                      beyond a reasonable doubt. In this case, the State has determi11ed it is unable to satisfy
                      this burden.

                  2. The statute oflimitations (when criminal charged must be filed after the occurrence of the
                     crime) has expired for the charge.

                  3. It has determined that the details of this incident do not conform to the elements of
                     Florida Statutes §, _ __ __

                  4. The victim has:

                     _   changed his or her account of the incident

                     _become uncooperative with the investigation




                                                                v~
                                                                    Signed: _ _ ~~_:,~i,.::::=i..=..._:__    _


                                                                            Fla. Bar. No.   d-~ c;;;f:S ~




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                                             *** END OF HARDCOPY ***




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